Case 1:20-cv-01029-SAG Document1 Filed 04/20/20 Page 1 of 7

‘serncees, FILET)
Somme LOGGED ——— ENTERED
| APR $95
IN THE UNITED STATES DISTRICT COURT Re 0 2020
FOR THE DISTRICT OF MARYLAND Clenx y CALTIMORe

Sh a cee £. Kuan | By DIST Seng COURT
T-{h-7! ' | |
fol & acd 1500s Ste |
Balt Mf 21202
H/23 4682.

(Full name, date of birth, identificatian #, address of petitioner)

Plaintiff,

DEPUTY

Y. . Case No,;
. i ae (Leave blank. To be filled in by Court.)
Chegapea Ke de Ten) fin .

facility
4b E. abreast
palt Af 21202

EFI wil name and address of. respondent)

Defendant(s).

 

*

*

COMPLAINT
J. Previous Lawsuits

A. Have you filed other cases in state or federal court dealing with the same facts as in this
case or against the same defendants?

YES NO p/
B. If you answered YES, describe that case(s) in the spaces below.
i. Parties to the other case(s):

Plaintiff:

 

Defendant(s):

 

2. Court (ifa federal court name the district; if a state court name the city or county):

 

Instructions&Form!983 (06/2016) ~ Page 6 of 13
Instructions& Form }983 (06/2016)

Case 1:20-cv-01029-SAG Document 1 Filed 04/20/20 Page 2 of 7

. REPRESENTING YOURSELE

Your complaint will be reviewed by the Court to make certain it is filled out properly. If’
- additional information is needed, you will be notified.

A judge will be assigned and a case number will be provided for your case.

PUT YOUR CASE NUMBER ON ALL DOCUMENTS you send to the Clerk concerning your

case.

Everything you file in your case should be addressed to:

Clerk of Court or Clerk of Court

U.S. District Court , U.S, District Court

101 W, Lombard Street 6500 Cherrywood Lane
Baltimore, Maryland 21201 Greenbelt, Maryland 20770

You MUST notify the Court in writing of any change in your address while your case is
pending. Failing to do so may result in dismissal of your complaint.

DO NOT try to communicate directly with the judge assigned to your case. .

If you want to request that something be done in your case you must file a motion or other
document with the Clerk. -

After the defendants have been served, most will have an attorney representing them and
their attorney will receive electronic notification of all documents that you file in the case;
therefore, you no longer need to send copies of those documents to the attorney,

For any defendants that DO NOT HAVE AN ATTORNEY, you will need to mail a copy of
whatever you file in the case directly to them and indicate that you have done so by
preparing a certificate of service on the final page.

Exhibits or documents already filed a defendant do not need to be filed again; rather, you
simply refer to the exhibit or document that is already filed, .

4

You must sign all of the documents you file.

It is not necessary to state in the certificate of service that copies were sent to the Court or to
the Clerk. .

Page 4 of 13
Case 1:20-cv-01029-SAG Document1 Filed 04/20/20 Page 3 of 7

 

3. Case No.:

4, Date filed:

 

>. Name of judge that handled the case:

 

6. Disposition (won, dismissed, stilt pending, on appeal):

 

 

7. Date of Disposition:

 

I]. Administrative Proceedings

A. If you are a prisoner, did you file a grievance as required by the prison’s administrative
remedy procedures?

Yes O no
1. If you answered YES:

a. What was the result?

 

 

b. Did you appeal?

YES O NO ew

2. Ifyou answered NO to either of the questions above, explain why: No One Neyer told Me
wpire <0 the Aches Wicte ative Om put ins ghievan fe ip about this Matte kt
a. gost Lupote to Med) ice alot this atten “ .

Til. Statement of Claim ,
(Briefly state the facts of your case. Include dates, times, and places. Describe what each
defendant did or how he/she is involved. If you are making a number of related claims,
number and cxplain each claim ina separate paragraph.)

Sinte = gharte? L\- 19-20) TAX img this Med; lection
Nvidgagly ine a \per haviss Sid. effects My
hes Nipples was di fran4 ing, tRovb}« £ leepiaug
Wellinge af NM testicles aud) shin Rach: hs af
‘de. Ade lo ne. My left tide ot _ bw, chest is Selling

Instructionsd& Form 1983 (06/2016) Page 7 of 13

 

 
ABE of CReigy 0 1029-SAG Document 1 Filed 04/20/20 Page 4 of 7

(Briefly state the facts of your case. Include dates, times, and places, Describe what each
defendant did or how he/she is involved. If you are making a number of related claims,
number and explain each claim ina separate paragraph.)

a4 a May = was born as a Ma) = am apt
a Atanscacnfer Noh -s— am at Gay ' But v4

a.
1s ane WRan4 Loe Whe ii ake of what

You LiKe, —— om emba ssial4 hy ave PReast

GNX. oma fete at * Nau ke ny \ SpA

" Instructionsé&Form 1983 (06/2016) Page 7 of 13

 

 
“it " StateraBRE oF CGY 01029- -SAG | Document 1 Filed 04/20/20 Page 5 of 7

(Briefly state the facts of your case. Include dates, times, and places. Describe what each _
defendant did or how he/she is involved. If you are making a number of related claims,
number and explain each claim ina separate paragraph.)

Aud = have 4 VY, Canand) te oo — AM

| Menta \ Ne Mage Ae Aw: ‘veiot eH izaXon
Wat cktsapeake Jetewtion a sky “Wedsea

tatt govt M & rene at chee RE a ke, Jereot ‘on
fo: dy statted Ael [t- Kq- ia) if Was supfase +o be

Instructions& Form] 983 (06/2016) "Page 7 of 13

Lor. Mo back “RROb lemme?
ee TH. Statérr@ne oF CRiGV-01029-SAG Document 1 Filed 04/20/20 Page 6 of 7. .

(Briefly state the facts of your case. Include dates, times, and places. Describe what each
defendant did or how he/she is involved. If you are making a number of related claims,
‘number and explain each claim ina separate paragraph.)

but Xe Me di¢at ion Was Anridepeesgan ti A site igt ylide
ts uses +0 Areat Sy motans af Aegeectian
+ &o not have No Signs ot He presscnn :
Sp wpw my |e viele of My Preast is

Swelling Gen this Med dic ation

" InstructionséForm 1983 (06/2016) _— Page Tof 3
Ti, Statenene

SP ERIGY-01029-SAG | Document 1 Filed 04/20/20 Page 7 of 7

(Briefly state the facts of your case. Include dates, times, and places. Describe what each
defendant did or how he/she is involved. If you are making a number of related claims,
number and explain each claim in a separate paragraph.)

No ane Never Adhd Me about hese sicke effects,

= on (2.- 27-208) this Medic cal I saiterctl (ini
Nop + Ane Are al ‘West stanked givin, le A\awty
“od Ms C cae Ae Same sill efheate:

 

Instructions& Form] 983 (06/2056) Page 7 of 13

Cf
